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           IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )            CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                                         ORDER
FINCH, SENIOR JUDGE

       THIS MATTER comes before the Court on Defendants’ Motion to Suppress filed on

December 29, 2008. An evidentiary hearing was held on January 26, 2009. For the reasons

stated in the forthcoming Memorandum Opinion, it is hereby


       ORDERED that Defendants’ Motion to Suppress is DENIED.



       ENTERED this 18th day of February, 2009.


                                          ______________/s/_______________________
                                          HONORABLE RAYMOND L. FINCH
                                          SENIOR U.S. DISTRICT JUDGE
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